996 F.2d 1213
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Cass W. YELARDY, a/k/a J.R., a/k/a Junior Brown, Defendant-Appellant.
    No. 93-6394.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 7, 1993.Decided:  June 28, 1993.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Frank W. Bullock, Jr., Chief District Judge.  (CR-87-118-G)
      Cass W. Yelardy, Appellant Pro Se.
      Benjamin Harvey White, Jr., United States Attorney, Greensboro, North Carolina, for Appellant.
      M.D.N.C.
      AFFIRMED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Cass W. Yelardy appeals from the district court's order that denied his motion under Fed.  Crim. P. 35(a) to vacate the court's restitution order.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  United States v. Yelardy, No. CR87-118-G (M.D.N.C. Mar. 29, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Even if we accept Yelardy's argument that this motion raises different issues than his previous motions, his claims are meritless
      
    
    